          18-14194-mew                    Doc 9           Filed 01/11/19            Entered 01/11/19 18:02:10                Main Document
                                                                                   Pg 1 of 29




 Fill in this information to identify the case:

 Debtor name         La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-14194
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 11, 2019                        X /s/ Kennedy Peralta Duran
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kennedy Peralta Duran
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
               18-14194-mew                    Doc 9           Filed 01/11/19        Entered 01/11/19 18:02:10                              Main Document
                                                                                    Pg 2 of 29

 Fill in this information to identify the case:
 Debtor name La Placita Washington Heights Corp.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):         18-14194                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CIty of New York                                                Fire Department                                                                                            $1,050.00
 Fire Department                                                 Violation
 P.O. Box 412014
 Boston, MA 02241
 Con Edison                                                      Utilities                                                                                                  $9,975.04
 Cooper Station
 P.O. Box 138
 New York, NY 10276
 Corp. Counsel of                                                Notice Only                                                                                                      $0.00
 The City
 of New York, Tax &
 Bankruptcy
 100 Church Street,
 4th Floor
 New York, NY 10007
 Department of                                                   Tax Debt                                                                                                  Unknown
 Treasury
 Internal Revnue
 Service
 PO Box 7346
 Philadelphia, PA
 19101
 Maria Jimenez                                                   Notice Only            Unliquidated                                                                              $0.00
 c/o RYAN S.
 GOLDSTEIN, PLLC
 43 WESTCHESTER
 SQUARE-SUITE 2A
 Bronx, NY 10461
 Morm Management                                                 Rent Arrears                                                                                             $125,067.50
 Co., LLC
 c/o Milbrook
 Properties, Ltd.
 42 Bayview Avenue
 Manhasset, NY
 11030




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
               18-14194-mew                    Doc 9           Filed 01/11/19        Entered 01/11/19 18:02:10                              Main Document
                                                                                    Pg 3 of 29

 Debtor    La Placita Washington Heights Corp.                                                                Case number (if known)         18-14194
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Nely Guity                                                      Notice Only            Unliquidated                                                                              $0.00
 c/o SUBIN
 ASSOCIATES, LLP
 50 BROADWAY,
 23RD FL
 New York, NY 10038
 NYC Department of                                               Notice Only                                                                                                      $0.00
 Finance
 Bankruptcy and
 Audit Unit
 345 Adam Street,
 10th Floor
 Brooklyn, NY 11201
 NYS Agriculture and                                             Penalties                                                                                                  $1,200.00
 Markets
 108 Airline Dr.
 Albany, NY 12235
 NYS Dept. of                                                    Tax Debt/ Sales                                                                                           Unknown
 Taxation and                                                    Tax
 Finance, Bankruptcy
 Section
 PO Box 5300
 Albany, NY 12205
 Office of                                                       Violation                                                                                                  $3,400.00
 Administration Trial
 And Hearings
 66 John Street, 11th
 Floor
 New York, NY 10038
 Rol-Rom Foods                                                   Food supplier                                                                                              $3,680.50
 33 6th Avenue
 Paterson, NJ 07524
 State of New York                                               Workers                                                                                                   Unknown
 Workers Comp                                                    Compensation
 Board
 PO Box 5200
 Binghamton, NY
 13902
 Windham                                                         Collection agency                                                                                          $2,397.25
 Professionals, Inc.                                             for The Travelers
 382 Main Street                                                 Company Policy
 Salem, NH 03079                                                 ending in T356




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
           18-14194-mew                            Doc 9              Filed 01/11/19                     Entered 01/11/19 18:02:10                                                 Main Document
                                                                                                        Pg 4 of 29
 Fill in this information to identify the case:

 Debtor name            La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               18-14194
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                      $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                         $           172,462.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                        $           172,462.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                      $            56,388.96


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                         $            14,092.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                 +$           100,032.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                               $             170,513.64




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                              Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19      Entered 01/11/19 18:02:10                    Main Document
                                                                             Pg 5 of 29
 Fill in this information to identify the case:

 Debtor name          La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-14194
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                             $4,000.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Chase Bank, N.A.                                       Checking                         6012                                        $314.00




            3.2.     Chase Bank, N.A.                                       Checking                         7001                                    $1,648.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $5,962.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19         Entered 01/11/19 18:02:10                  Main Document
                                                                                Pg 6 of 29
 Debtor         La Placita Washington Heights Corp.                                              Case number (If known) 18-14194
                Name




 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used      Current value of
                                                      physical inventory         debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Grocery store
           merchandise: to sell to
           customers: fruits,
           vegatable, canned
           goods, frozen foods,
           juices, sodas, eggs,
           milk, dry goods, and
           related items.                                                                      $0.00                                         $85,000.00




 23.       Total of Part 5.                                                                                                              $85,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19      Entered 01/11/19 18:02:10              Main Document
                                                                             Pg 7 of 29
 Debtor         La Placita Washington Heights Corp.                                           Case number (If known) 18-14194
                Name


     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer, office telephone, security camera
           and monitor, fax machine, and tv for
           customers.                                                                       $0.00                                         $10,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $10,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Freezers ($20,000.00), refrigerators($5,000.00),
           ice boxes for produce ($10,000); motors for
           refrigerators ($15,000.00), 3 manual cash
           registers ($1,500.00); and other grocery store
           equipment and fixtures ($20,000.00)                                              $0.00                                         $71,500.00




 51.       Total of Part 8.                                                                                                           $71,500.00
           Add lines 47 through 50. Copy the total to line 87.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19       Entered 01/11/19 18:02:10               Main Document
                                                                              Pg 8 of 29
 Debtor         La Placita Washington Heights Corp.                                           Case number (If known) 18-14194
                Name



 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Lease of the
                     commercial premises
                     located at 1406 Saint
                     Nicholas Ave., New
                     York, NY 10033,
                     Lease Term: 5/1/2013
                     - 4/30/2023. Order
                     entered in Landlord
                     Tenant action
                     permitting the
                     issuance of a warrant
                     of eviction, but a stay
                     on execution of any
                     warrant of eviction
                     until 12/31/2018.                    Lease                             $0.00                                            Unknown




 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19      Entered 01/11/19 18:02:10               Main Document
                                                                             Pg 9 of 29
 Debtor         La Placita Washington Heights Corp.                                           Case number (If known) 18-14194
                Name

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill from operating a neighborhood
            grocery store since May 2013.                                                   $0.00                                           Unknown




 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
           18-14194-mew                       Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                           Main Document
                                                                            Pg 10 of 29
 Debtor          La Placita Washington Heights Corp.                                                                 Case number (If known) 18-14194
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $5,962.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $85,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $10,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $71,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $172,462.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $172,462.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
           18-14194-mew                      Doc 9        Filed 01/11/19 Entered 01/11/19 18:02:10                               Main Document
                                                                        Pg 11 of 29
 Fill in this information to identify the case:

 Debtor name          La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)              18-14194
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    GLD Factoring, LLC                            Describe debtor's property that is subject to a lien                  $56,388.96               $85,000.00
        Creditor's Name                               Grocery store merchandise: to sell to
                                                      customers: fruits, vegatable, canned goods,
        591 Stewart Ave                               frozen foods, juices, sodas, eggs, milk, dry
        Suite 520                                     goods, and related items.
        Garden City, NY 11530
        Creditor's mailing address                    Describe the lien
                                                      Factor Loan
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $56,388.96

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                 Main Document
                                                                        Pg 12 of 29
 Fill in this information to identify the case:

 Debtor name         La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)          18-14194
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,500.00        Unknown
           Department of Treasury                                    Check all that apply.
           Internal Revnue Service                                    Contingent
           PO Box 7346                                                Unliquidated
           Philadelphia, PA 19101                                     Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax Debt
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $11,000.00         Unknown
           NYS Dept. of Taxation and                                 Check all that apply.
           Finance, Bankruptcy Section                                Contingent
           PO Box 5300                                                Unliquidated
           Albany, NY 12205                                           Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax Debt/ Sales Tax
           Last 4 digits of account number 7808                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                   34115                               Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                              Main Document
                                                                        Pg 13 of 29
 Debtor       La Placita Washington Heights Corp.                                                             Case number (if known)          18-14194
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $592.00    Unknown
           State of New York Workers Comp                            Check all that apply.
           Board                                                      Contingent
           PO Box 5200                                                Unliquidated
           Binghamton, NY 13902                                       Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Workers Compensation
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,050.00
           CIty of New York                                                         Contingent
           Fire Department                                                          Unliquidated
           P.O. Box 412014                                                          Disputed
           Boston, MA 02241
                                                                                   Basis for the claim:     Fire Department Violation
           Date(s) debt was incurred
           Last 4 digits of account number      2079                               Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $9,975.04
           Con Edison                                                               Contingent
           Cooper Station                                                           Unliquidated
           P.O. Box 138                                                             Disputed
           New York, NY 10276
                                                                                   Basis for the claim:     Utilities
           Date(s) debt was incurred
           Last 4 digits of account number      0039                               Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Corp. Counsel of The City                                                Contingent
           of New York, Tax & Bankruptcy                                            Unliquidated
           100 Church Street, 4th Floor                                             Disputed
           New York, NY 10007
                                                                                   Basis for the claim:     Notice Only
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Maria Jimenez                                                            Contingent
           c/o RYAN S. GOLDSTEIN, PLLC                                              Unliquidated
           43 WESTCHESTER SQUARE-SUITE 2A
                                                                                    Disputed
           Bronx, NY 10461
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Notice Only
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $125,067.50
           Morm Management Co., LLC                                                 Contingent
           c/o Milbrook Properties, Ltd.                                            Unliquidated
           42 Bayview Avenue                                                           Disputed
           Manhasset, NY 11030
                                                                                   Basis for the claim:     Rent Arrears
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                        Main Document
                                                                        Pg 14 of 29
 Debtor       La Placita Washington Heights Corp.                                                     Case number (if known)            18-14194
              Name

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Nely Guity                                                         Contingent
           c/o SUBIN ASSOCIATES, LLP                                          Unliquidated
           50 BROADWAY, 23RD FL
                                                                              Disputed
           New York, NY 10038
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           NYC Department of Finance                                          Contingent
           Bankruptcy and Audit Unit                                          Unliquidated
           345 Adam Street, 10th Floor                                        Disputed
           Brooklyn, NY 11201
                                                                             Basis for the claim:    Notice Only
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,200.00
           NYS Agriculture and Markets                                        Contingent
           108 Airline Dr.                                                    Unliquidated
           Albany, NY 12235                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Penalties
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,400.00
           Office of Administration Trial                                     Contingent
           And Hearings                                                       Unliquidated
           66 John Street, 11th Floor                                         Disputed
           New York, NY 10038
                                                                             Basis for the claim:    Violation
           Date(s) debt was incurred
           Last 4 digits of account number      2664                         Is the claim subject to offset?    No  Yes
 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,680.50
           Rol-Rom Foods                                                      Contingent
           33 6th Avenue                                                      Unliquidated
           Paterson, NJ 07524                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Food supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,397.25
           Windham Professionals, Inc.                                        Contingent
           382 Main Street                                                    Unliquidated
           Salem, NH 03079                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Collection agency for The Travelers Company Policy
           Last 4 digits of account number      6033                         ending in T356
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                  Main Document
                                                                        Pg 15 of 29
 Debtor       La Placita Washington Heights Corp.                                                 Case number (if known)          18-14194
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Department of Treasury
           Internal Revenue Services                                                             Line      2.1
           Philadelphia, PA 19255
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                     14,092.00
 5b. Total claims from Part 2                                                                        5b.    +    $                    100,032.68

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                      114,124.68




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                       Main Document
                                                                        Pg 16 of 29
 Fill in this information to identify the case:

 Debtor name         La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-14194
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Lease of the
              lease is for and the nature of              commercial premises
              the debtor's interest                       located at 1406 Saint
                                                          Nicholas Ave., New
                                                          York, NY 10033, Lease
                                                          Term: 5/1/2013 -
                                                          4/30/2023. Order
                                                          entered in Landlord
                                                          Tenant action
                                                          permitting the issuance
                                                          of a warrant of eviction,
                                                          but a stay on execution
                                                          of any warrant of
                                                          eviction until
                                                          12/31/2018.
                  State the term remaining                4 years                     Morm Management Co., LLC
                                                                                      c/o Milbrook Properties, Ltd.
              List the contract number of any                                         42 Bayview Avenue
                    government contract                                               Manhasset, NY 11030




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                  Main Document
                                                                        Pg 17 of 29
 Fill in this information to identify the case:

 Debtor name         La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-14194
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                Main Document
                                                                        Pg 18 of 29


 Fill in this information to identify the case:

 Debtor name         La Placita Washington Heights Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         18-14194
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                   Unknown
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                              $1,881,879.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                                   Unknown
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                    Main Document
                                                                        Pg 19 of 29
 Debtor       La Placita Washington Heights Corp.                                                       Case number (if known) 18-14194



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Morm Management Co., LLC                          Non-payment                Civil Court of the City of                   Pending
               v. La Placita Washington                          Landlord and               New York                                   On appeal
               Heights Corp.                                     Tenant Action              County of New York
                                                                                                                                       Concluded
               L/T Index No. 73428/18

       7.2.    Nely Guity v. La Placita                          E-OTHER TORTS              New York Supreme Court                       Pending
               Washington                                        NEGLIGENCE                 County of New York                         On appeal
               Index No. 151881/2017
                                                                                                                                       Concluded

       7.3.    Maria Jimenez v. La Placita                       E-FILED OTHER              New York Supreme Court                       Pending
               Washington                                        TORTS                      Bronx County                               On appeal
               Index No. 23391/2018
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                 Main Document
                                                                        Pg 20 of 29
 Debtor        La Placita Washington Heights Corp.                                                          Case number (if known) 18-14194




       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Ortiz & Ortiz, LLP
                32-72 Steinway Street, Suite
                402                                                  Attorney Fees: $13,283.00
                Astoria, NY 11103                                    Filing Fee: $1,717.00                                                         $15,000.00

                Email or website address
                email@ortizandortiz.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                   Date transfer        Total amount or
               Address                                           payments received or debts paid in exchange              was made                      value

 Part 7:       Previous Locations

14. Previous addresses
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           18-14194-mew                   Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                               Main Document
                                                                        Pg 21 of 29
 Debtor      La Placita Washington Heights Corp.                                                        Case number (if known) 18-14194



    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                  Main Document
                                                                        Pg 22 of 29
 Debtor      La Placita Washington Heights Corp.                                                        Case number (if known) 18-14194




       None
       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                              Main Document
                                                                        Pg 23 of 29
 Debtor      La Placita Washington Heights Corp.                                                        Case number (if known) 18-14194



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Marina Torres                                                                                                         2016 to Present
                    MJBusiness Service
                    4388 Broadway
                    New York, NY 10040

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Kennedy Peralta Duran
                    166 E. 22nd Street
                    Paterson, NJ 07514

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Kennedy Peralta Duran                          166 E. 22nd Street                                  President and owner of La              100% Owner
                                                      Paterson, NJ 07514                                  Placita Washington Heights
                                                                                                          Corp.


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                               Main Document
                                                                        Pg 24 of 29
 Debtor      La Placita Washington Heights Corp.                                                        Case number (if known) 18-14194




           No
       Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 11, 2019

 /s/ Kennedy Peralta Duran                                              Kennedy Peralta Duran
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
            18-14194-mew                  Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                       Main Document
                                                                        Pg 25 of 29
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       La Placita Washington Heights Corp.                                                              Case No.      18-14194
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 15,000.00
              Prior to the filing of this statement I have received                                       $                 13,283.00
              Balance Due                                                                                 $                  1,717.00

2.     $     1,717.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 11, 2019                                                            /s/ Norma E. Ortiz
     Date                                                                        Norma E. Ortiz
                                                                                 Signature of Attorney
                                                                                 Ortiz & Ortiz, LLP
                                                                                 32-72 Steinway Street, Suite 402
                                                                                 Astoria, NY 11103
                                                                                 (718) 522-1117 Fax: (718) 596-1302
                                                                                 email@ortizandortiz.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                                Main Document
                                                                        Pg 26 of 29
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      La Placita Washington Heights Corp.                                                                       Case No.       18-14194
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 11, 2019                                                       Signature /s/ Kennedy Peralta Duran
                                                                                            Kennedy Peralta Duran

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          18-14194-mew                    Doc 9           Filed 01/11/19 Entered 01/11/19 18:02:10                   Main Document
                                                                        Pg 27 of 29




                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      La Placita Washington Heights Corp.                                                           Case No.    18-14194
                                                                                   Debtor(s)              Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       January 11, 2019                                           /s/ Kennedy Peralta Duran
                                                                        Kennedy Peralta Duran/President
                                                                        Signer/Title




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
    18-14194-mew   Doc 9   Filed 01/11/19 Entered 01/11/19 18:02:10   Main Document
                                         Pg 28 of 29

x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                           CITY OF NEW YORK
                           FIRE DEPARTMENT
                           P.O. BOX 412014
                           BOSTON, MA 02241


                           CON EDISON
                           COOPER STATION
                           P.O. BOX 138
                           NEW YORK, NY 10276


                           CORP. COUNSEL OF THE CITY
                           OF NEW YORK, TAX & BANKRUPTCY
                           100 CHURCH STREET, 4TH FLOOR
                           NEW YORK, NY 10007


                           DEPARTMENT OF TREASURY
                           INTERNAL REVNUE SERVICE
                           PO BOX 7346
                           PHILADELPHIA, PA 19101


                           DEPARTMENT OF TREASURY
                           INTERNAL REVENUE SERVICES
                           PHILADELPHIA, PA 19255


                           GLD FACTORING, LLC
                           591 STEWART AVE
                           SUITE 520
                           GARDEN CITY, NY 11530


                           MARIA JIMENEZ
                           C/O RYAN S. GOLDSTEIN, PLLC
                           43 WESTCHESTER SQUARE-SUITE 2A
                           BRONX, NY 10461


                           MORM MANAGEMENT CO., LLC
                           C/O MILBROOK PROPERTIES, LTD.
                           42 BAYVIEW AVENUE
                           MANHASSET, NY 11030


                           NELY GUITY
                           C/O SUBIN ASSOCIATES, LLP
                           50 BROADWAY, 23RD FL
                           NEW YORK, NY 10038
18-14194-mew   Doc 9   Filed 01/11/19 Entered 01/11/19 18:02:10   Main Document
                                     Pg 29 of 29


                       NYC DEPARTMENT OF FINANCE
                       BANKRUPTCY AND AUDIT UNIT
                       345 ADAM STREET, 10TH FLOOR
                       BROOKLYN, NY 11201


                       NYS AGRICULTURE AND MARKETS
                       108 AIRLINE DR.
                       ALBANY, NY 12235


                       NYS DEPT. OF TAXATION AND
                       FINANCE, BANKRUPTCY SECTION
                       PO BOX 5300
                       ALBANY, NY 12205


                       OFFICE OF ADMINISTRATION TRIAL
                       AND HEARINGS
                       66 JOHN STREET, 11TH FLOOR
                       NEW YORK, NY 10038


                       ROL-ROM FOODS
                       33 6TH AVENUE
                       PATERSON, NJ 07524


                       STATE OF NEW YORK WORKERS COMP
                       BOARD
                       PO BOX 5200
                       BINGHAMTON, NY 13902


                       WINDHAM PROFESSIONALS, INC.
                       382 MAIN STREET
                       SALEM, NH 03079
